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              IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF OKLAHOMA


Robert Forrest Green, Sr.,             )
                                       )
                   Plaintiff,          )
                                       )
     vs.                               ) Case No. CIV-17-510-D
                                       )
City of Norman,                        )
                                       )
                   Defendant.          )


                         ADMINISTRATIVE CLOSING ORDER

     IT    APPEARING      that    these        proceedings     should   be   held   in

abeyance     pursuant      to    the   settlement         and    compromise      being

effected     by    the    parties,        it     is   ordered    that     the    Clerk

administratively terminate this action in her records without

prejudice to the rights of the parties to reopen the proceedings

for good cause shown for the entry of any stipulation or order,

or   for     any    other       purpose        required   to     obtain      a   final

determination of the litigation.                 If within 30 days hereof, the

parties have not reopened for the purpose of obtaining such a

final determination, this action will be deemed to be dismissed

with prejudice.

     IT IS SO ORDERED this 2nd day of January, 2019.
